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                       APPEAL NO. 21-2683
           UNITED STATES COURT OF APPEALS
              FOR THE SEVENTH CIRCUIT

                         JANAY E. GARRICK,
                         Plaintiff-Appellee,
                                   v.
                     MOODY BIBLE INSTITUTE,
                       Defendant-Appellant.



         On Appeal from the United States District Court
       for the Northern District of Illinois, Eastern Division
          Case No. 1:18-cv-00573 / Honorable John Z. Lee


 BRIEF OF ALLIANCE DEFENDING FREEDOM AS AMICUS
  CURIAE IN SUPPORT OF APPELLANT FOR REVERSAL


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                    21-2683
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                         Cody S. Barnett
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(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

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(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
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                      s/ John J. Bursch
Attorney’s Signature: ________________________________________       August 7, 2023
                                                               Date: ________________________________________

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                    INTEREST OF AMICUS CURIAE 1

      Alliance Defending Freedom is the world’s largest law firm
dedicated to protecting religious freedom, free speech, the sanctity of life,
parental rights, and marriage and family. ADF regularly defends
religious organizations in employment actions. E.g., Seattle’s Union
Gospel Mission v. Woods, 142 S. Ct. 1094 (2022) (SUGM); Gordon Coll. v.
DeWeese-Boyd, 142 S. Ct. 952 (2022). ADF relies on Title VII’s religious
exemption and the First Amendment to protect religious groups’
autonomy to govern themselves free of government interference. ADF
has a strong interest in ensuring that these organizations retain the
strongest protections guaranteed them by both Title VII and the
Constitution.




1 No counsel for a party authored this brief in whole or in part, and no person other

than amicus and its counsel made any monetary contribution intended to fund the
preparation or submission of this brief. Counsel were timely notified of this brief as
required by Fed. R. App. P. 29, and all parties consented to its filing.


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                       SUMMARY OF ARGUMENT
     This country has long protected religious groups’ autonomy to
define and express themselves according to the dictates of their faiths.
This commitment was born from long experience with the contrary. When
Henry VIII ascended to England’s throne and declared himself the
Church’s supreme head, he accrued vast ecclesiastical powers—including
the ability to appoint Church officials, prescribe which ministers could
preach, and even dictate how congregations could pray. Unfortunately,
these abuses transferred from the Old World to the New. The Framers
experienced firsthand the problems of secular officials resolving spiritual
questions. So the Framers drafted the First Amendment to prevent
precisely these abuses, prohibiting government from exercising
jurisdiction over matters of “theological controversy, church discipline,
ecclesiastical government, or the conformity of the members of the church
to the standard of morals required of them.” Watson v. Jones, 80 U.S. (13
Wall.) 679, 733 (1871).
     Congress enacted Title VII with this prohibition in mind. As
originally drafted, Title VII did “not apply” to religious entities who
wanted to employ “individuals of a particular religion” to “carry[ ] on …
religious activities.” Pub. L. No. 88-352, § 702, 78 Stat. 241, 255 (1964).
Over time, Congress realized that the First Amendment demanded more
and expanded Title VII’s exemption to include individuals hired to carry
out any of the religious organizations’ “activities”—religious or otherwise.
Pub. L. No. 92-261, 86 Stat. 103, 103–04 (1972). To ensure full coverage,
Congress defined “religion” broadly to include “all aspects of religious
observance and practice, as well as belief.” 42 U.S.C. § 2000e(j).




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     As government regulation has become more pervasive, “exerting a
hydraulic insistence on conformity to majoritarian standards,” Title VII’s
religious exemption has been critical for faith groups to teach and live
out their beliefs. Wisconsin v. Yoder, 406 U.S. 205, 217 (1972). Yet some
courts, like the district court here, have thought that granting faith
groups this autonomy would be excessive. They have restricted Title VII’s
exemption solely to claims of discrimination premised upon an
employee’s religious preferences and nothing else.
     This interpretation turns Title VII’s strong protections into an
easily evaded Maginot Line. Moody Bible Institute fired Janay Garrick,
by her own admission, over a theologically grounded dispute about
gender roles. When Garrick first sued, her complaint made clear that her
disagreement was “tied to Moody’s religious beliefs.” Garrick v. Moody
Bible Inst., 412 F. Supp. 3d 859, 872 (N.D. Ill. 2019) (Garrick I). After the
district court dismissed those claims—and coached Garrick on how to
refile them to evade the court’s own ruling—she amended her complaint
to shoehorn the same factual allegations about religious discrimination
into a sex discrimination claim. To these claims, the district court
thought Title VII’s religious exemptions did not apply.
     That conflicts with Title VII’s plain text. The exemption expressly
says “[t]his subchapter”—meaning “all of Title VII”—“shall not apply” if
triggered, “including the provisions prohibiting discrimination on non-
religious bases and providing for mixed-motive liability.” Fitzgerald v.
Roncalli High Sch., Inc., 73 F.4th 529, 534 (7th Cir. 2023) (Brennan, J.,
concurring). “So, when a covered employer demonstrates that an adverse
employment decision was made because the relevant individual’s beliefs,
observances, or practices did not conform with the employer’s religious


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expectations,” Title VII’s exemption applies and “bar[s] a Title VII claim
on that employment decision.” Id. at 536. Full stop.
     What Title VII plainly says, the Constitution supports. Since the
First Amendment’s ratification, this country has long respected religious
groups’ right to select and supervise employees without government
interference. This principle, known as the church autonomy doctrine,
“requires civil courts to accept … as binding” religious organizations’
decisions on “internal dispute[s].” Korte v. Sebelius, 735 F.3d 654, 677
(7th Cir. 2013) (cleaned up). Congress enacted Title VII’s religious
exemption with the church-autonomy doctrine in mind. Id. at 678. To
read that exemption narrowly, as the district court did, would frustrate
Congress’s choice and collide with First Amendment principles,
something this Court routinely avoids. It should do so here.
     Government “cannot foreclose the exercise of … rights by mere
labels.” NAACP v. Button, 371 U.S. 415, 429 (1963). That the district
court’s interpretation would allow just that demands correction. This
Court should reverse and affirm the right of religious groups to operate
without fear of government punishment simply for living out their
missions consistent with their beliefs.




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                              ARGUMENT
     Title VII’s plain text protects Moody’s decision to part ways with
Garrick. So, too, does the First Amendment. Since the statute and
Constitution operate in tandem to compel the same conclusion, this Court
should reverse the district court’s contrary decision.

I.   Title VII’s plain text protects all religiously motivated
     employment actions.

     A.       Title VII’s text and purpose support a broad exemption
              for all religiously motivated employment actions.
     When interpreting Title VII, courts “start, of course, with the
statutory text.” Mangine v. Withers, 39 F.4th 443, 447 (7th Cir. 2022).
Each word “must be read in [its] context and with a view to [its] place in
the overall statutory scheme.” West Virginia v. EPA, 142 S. Ct. 2587, 2607
(2022). That includes exceptions and exemptions. They “are no less part
of Congress’s work than its rules and standards—and all are worthy of a
court’s respect.” BP PLC v. Mayor & City Council of Baltimore, 141 S. Ct.
1532, 1539 (2021). Courts have “no license to give statutory exemptions
anything but a fair reading.” Id. at 1538 (cleaned up).
     Title VII generally prohibits employment decisions based on an
“individual’s race, color, religion, sex, or national origin.” 42 U.S.C.
§ 2000e-2(a). But Congress categorically exempted religious institutions,
saying that Title VII “shall not apply to … a religious [institution] with
respect to the employment of individuals of a particular religion to
perform work connected with the carrying on by such [institution] of its
activities.” Id. § 2000e-1(a). Title VII defines religion broadly to include
“all aspects of religious observance and practice, as well as belief.” Id.
§ 2000e(j).


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      Every court accordingly has recognized that Title VII’s exemption
at least “permits religious associations to discriminate on religious
grounds.” Starkey v. Roman Cath. Archdiocese of Indianapolis, 41 F.4th
931, 946 (7th Cir. 2022) (Easterbrook, J., concurring) (citing Corp. of the
Presiding Bishop v. Amos, 483 U.S. 327, 329 (1987)). Were it otherwise,
Title VII would force the Catholic Church to hire non-Catholics as priests
and mosques to hire non-Muslims as imams.
      But the statute’s plain language does more than “authoriz[e] the
employment of co-religionists.” Id. It protects any employment decision
that a religious institution makes if that decision is “founded on religious
beliefs”—even if the decision implicates Title VII’s other concerns, such
as sexuality or gender. Id. Once the exemption triggers, then the
statutory text declares that “[t]his subchapter”—meaning all of Title
VII—“shall not apply.” 42 U.S.C. § 2000e-1(a). “That a law might temper
its pursuit of one goal by accommodating others can come as no surprise.
… Often lawmakers tread in areas fraught with competing social
demands where everyone agrees trade-offs are required.” BP PLC, 141 S.
Ct. at 1539. So, too, with Title VII. As this Court has already held, when
a conflict arises, “the free exercise of religion” “prevails over the interest
in ending discrimination embodied in Title VII.” Young v. N. Ill. Conf. of
United Methodist Church, 21 F.3d 184, 185 (7th Cir. 1994).
      Nonetheless, some courts have frustrated Congress’s statutory
design by limiting Title VII’s exemption to “permit[ ] religious discrimi-
nation but no other kind.” Starkey, 41 F.4th at 946 (Easterbrook, J.,
concurring). For example, without explanation, the Ninth Circuit has
held that “religious employers are not immune from liability under Title
VII for discrimination based on sex.” EEOC v. Fremont Christian Sch.,


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781 F.2d 1362, 1364–66 (9th Cir. 1986) (cleaned up). “Consonant with
this view, some district courts in [this] circuit sidestep employers’
religious justifications and find that so long as the plaintiff alleges
discrimination based on a non-religious protected class, the exemption
does not apply.” Fitzgerald, 73 F.4th at 535 (Brennan, J., concurring)
(collecting   cases—and      specifically    citing    the      district     court’s
interpretation of Title VII in this case as incorrect).
      Yet nothing in the text supports this “implicit exception,” and this
Court should not repeat the mistake other courts have made. See
Alabama v. Bozeman, 533 U.S. 146, 153 (2001). Congress said that the
exemption applies to “this subchapter,” which cannot mean anything
“less than all of Title VII.” Starkey, 41 F.4th at 946 (Easterbrook, J.,
concurring). And in using the command “shall,” Congress conveyed an
“absolute.” Bozeman, 533 U.S. at 153. Plaintiffs can bring any number of
claims and label them however they like—if the exemption triggers, it
bars them all. The statute “does not contain any … language … limiting”
the exemption to “solely” claims of one type. BP PLC, 141 S. Ct. at 1538.
“Instead,” if a religious institution takes religiously motivated
employment actions, “then all of Title VII drops out,” Starkey, 41 F.4th
at 946 (Easterbrook, J., concurring)—“without any further qualification,”
BP PLC, 141 S. Ct. at 1538.
      That’s how courts have interpreted the exact same exemption in a
different context. For not only did Congress exempt religious institutions
from Title VII’s ambit, but in the same breath it also exempted
employment decisions related to “aliens outside any State.” 42 U.S.C.
§ 2000e-1(a). “That language has been understood to mean what it says:
none of Title VII’s substantive rules applies to aliens covered by [the


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exemption].” Starkey, 41 F.4th at 947 (Easterbrook, J., concurring) (citing
Rabé v. United Air Lines, Inc., 636 F.3d 866, 869 (7th Cir. 2011)). “What
is true for the alien exemption must be true for the religious exemption
as well.” Id. The same words in the same statute carry “a consistent
meaning.” United States v. Davis, 139 S. Ct. 2319, 2329 (2019).
     The district court resisted this plain meaning because the
exemption “speak[s] to a religious organization’s hiring of employees of ‘a
particular religion.’” Garrick I, 412 F. Supp. 3d at 870 (quoting 42 U.S.C.
§§ 2000e-1(a), 2000e-2(e)(2)). This cramped understanding rips that
phrase from its full statutory context. Congress provided an “explicit
definition” for “religion,” and that definition encompasses more than just
a particular denomination. Van Buren v. United States, 141 S. Ct. 1648,
1657 (2021) (cleaned up). Congress defined religion to include “all aspects
of religious observance and practice, as well as belief.” 42 U.S.C.
§ 2000e(j) (emphasis added). The exemption doesn’t confine religious
organizations to denominational labels, as the district court thought, but
instead frees them to judge whether their employees live “by word and
deed … in accordance with the faith.” Our Lady of Guadalupe Sch. v.
Morrissey-Berru, 140 S. Ct. 2049, 2066 (2020). Taken as a whole, the
exemption allows religious groups to “employ only persons whose beliefs
and conduct are consistent with the employer’s religious precepts.” Little
v. Wuerl, 929 F.2d 944, 950–51 (3d Cir. 1991) (rejecting the
“denominational” interpretation that the district court adopted here).
     This broad, plain reading of Title VII comports with its purpose.
“Congress intended the explicit exemptions to Title VII to enable
religious organizations to create and maintain communities composed
solely of individuals faithful to their doctrinal practices.” Kennedy v. St.


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Joseph’s Ministries, Inc., 657 F.3d 189, 194 (4th Cir. 2011) (cleaned up).
And employing “only those committed to th[e] mission” is “a means by
which a religious community defines itself.” Amos, 483 U.S. at 342
(Brennan, J., concurring). So reading the exemption narrowly
“undermine[s] not only the autonomy of many religious organizations but
also their continued viability.” SUGM, 142 S. Ct. at 1096 (Alito, J.,
respecting the denial of certiorari). “If States could compel religious
organizations to hire employees who fundamentally disagree with them,
many religious non-profits would be extinguished from participation in
public life—perhaps by those who disagree with their theological views
most vigorously.” Id.; see also Christian Legal Soc’y v. Walker, 453 F.3d
853, 861 (7th Cir. 2006) (“When the government forces a group to accept
for membership someone the group does not welcome and the presence of
the unwelcome person affects in a significant way the group’s ability to
advocate its viewpoint, the government has infringed on the group’s
freedom of expressive association.”). That’s why Congress broadly, not
narrowly, defined the exemption.

     B.    Moody’s actions here easily fit within Title VII’s
           exemption.
     Properly understood, Title VII’s plain text protects Moody’s decision
to part ways with Garrick. The dispute between Moody and Garrick
centers around the Bible’s teachings on gender and sexuality. Moody
subscribes to the “complementarian” view that “although men and
women are created equal in their being and personhood, they are created
to complement each other via different roles in life and in the church.”




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Tim Challies, Why I Am Not Egalitarian (June 30, 2016).2 By contrast,
Garrick subscribes to an “egalitarian” theological view that teaches that
“there are no gender-based limitations of what functions or roles each can
fulfill in the home, the church, and the society.” Id. (emphasis added).
The differences between these theological positions ultimately led Moody
to part ways with Garrick. It is “not within the judicial ken” to second-
guess the sincerity or centrality of Moody’s decision, and Title VII’s plain
text acknowledges that. Hernandez v. Comm’r, 490 U.S. 680, 699 (1989).
         Throughout this litigation, Garrick has acknowledged that her dis-
pute is primarily theological. In her first complaint, Garrick claimed that
she:
         was terminated for her stated position/disagreement with
         Moody’s ‘Gender roles in Ministry’ addendum included in its
         doctrinal statement, Defendant stating that she could not sign
         the doctrinal statement based on her holding to an egalitarian
         position (Moody holds to a complementarian position that
         excludes women from certain roles within the church due to
         their gender).
         She said the same, under penalty of perjury, in a signed EEOC
Charge of Discrimination. There, she made clear that Moody terminated
her based on her “form of Christianity” and her misalignment with
Moody’s “doctrinal statement.” Only the district court’s coaching brought
Garrick to say that her dispute with Moody was not theological.
         That the theological dispute here involves sexuality and gender
does not make it any less religious. In firing Garrick, Moody was
“carrying out its theological views; that its adherence to [that] doctrine
produces a form of sex discrimination does not make the action less


2   https://perma.cc/9J33-NGLW.



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religiously based.” Starkey, 41 F.4th at 947 (Easterbrook, J., concurring).
Indeed, the text of the religious exemption “makes no distinction among
different kinds of” decisions. Bozeman, 533 U.S. at 154. So courts “must
assume that every” religious employment action “triggers” the exemption,
even if it overlaps with other motives. Id.; Fitzgerald, 73 F.4th at 534
(Brennan, J., concurring) (noting that “all of Title VII drops out” even “for
mixed-motive liability”).
     To hold otherwise would imperil religious organizations’ autonomy
over their tenets on gender and sexuality. Take the Catholic Church,
which understands the Bible to restrict priesthood to men. Or an Islamic
school that understands the Quran to require women but not men to wear
a hijab. No one seriously questions whether these decisions are
religiously motivated. Nor do they question whether they fit within Title
VII’s exemption—even though they “produce[ ] a form of sex
discrimination,” too. Starkey, 41 F.4th at 947 (Easterbrook, J.,
concurring). Yet the interpretation that the district court adopted would
not recognize these religiously motivated decisions as exempted from
Title VII’s ambit. That can’t be correct.
     Indeed, adjudicating Garrick’s claims would “not only undercut a
religious organization’s constitutionally protected” autonomy, “but also
cause civil intrusion into, and excessive entanglement with, the religious
sphere”—the very harms Congress designed Title VII to avoid.
Demkovich v. St. Andrew the Apostle Parish, Calumet City, 3 F.4th 968,
977–78 (7th Cir. 2021) (en banc). The district court thought it could avoid
such entanglement by defining Moody’s religious beliefs for them. To the
district court, Moody’s complementarianism “focuses on excluding
women from serving as ministers” and nothing more; Moody’s


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complimentarianism says nothing about “women who work in secular
roles.” Garrick v. Moody Bible Inst., 494 F. Supp. 3d 570, 578 (N.D. Ill.
2020) (Garrick II). But the court didn’t account for “the critical and
unique role of the teacher.” NLRB v. Cath. Bishop of Chi., 440 U.S. 490,
501 (1979). Moody, like other religious schools, “ask[s] their teachers to
show students how to view the world through a faith-based lens, even
when teaching nominally secular subjects.” Gordon Coll., 142 S. Ct. at
954 (Alito, J., respecting the denial of certiorari) (cleaned up). Courts
cannot neatly divide the secular from the sacred; to do so would only
entangle courts in church doctrine.
      Title VII’s language “is plain,” so the Court’s “inquiry should end.”
Culbertson v. Berryhill, 139 S. Ct. 517, 521 (2019). The exemption
protects all religiously motivated employment actions. Once triggered,
Title VII no longer applies.

II.   Constitutional avoidance compels reading Title VII’s
      religious exemption broadly to protect all religiously
      motivated employment actions.
      Title VII’s plain text articulates a broad religious exemption. The
constitutional avoidance canon requires that reading. That canon
instructs courts to interpret statutes to avoid conflicts with the
Constitution. Here, the district court’s narrow reading of Title VII’s
religious exemption collides with the First Amendment’s long-recognized
church autonomy doctrine.




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     A.    This country has long protected religious groups’
           autonomy to decide questions of faith, doctrine, and
           internal governance.
     Many early settlers came to America “to escape the bondage of laws
which compelled them to support and attend government favored
churches.” Everson v. Bd. of Educ. of Ewing Twp., 330 U.S. 1, 8 (1947).
They wanted the freedom “to elect their own ministers and establish their
own modes of worship.” Hosanna-Tabor Evangelical Lutheran Church &
Sch. v. EEOC, 565 U.S. 171, 182 (2012). Yet the New World started to
look a lot like the Old; “practices and persecutions” became “so
commonplace as to shock the freedom-loving colonials into a feeling of
abhorrence” and “indignation.” Everson, 330 U.S. at 10–11.
     These “feelings … found expression in the First Amendment.” Id.
at 11. James Madison, a “leading architect,” staunchly defended the
rights of conscience from government interference. Ariz. Christian Sch.
Tuition Org. v. Winn, 563 U.S. 125, 141 (2011). He believed “that religion
… and the manner of discharging it, can be directed only by reason and
conviction, not by force or violence,” making it “wholly exempt from
[government’s] cognizance.” Everson, 330 U.S. at 64. Into the First
Amendment, Madison and the other Framers baked protections for
religious groups’ autonomy to decide questions of faith and internal
governance.
     After the First Amendment’s ratification, courts recognized
religious groups’ “independence from secular control or manipulation”
and the concomitant “power to decide for themselves, free from state
interference, matters of church government as well as those of faith and
doctrine.” Kedroff v. St. Nicholas Cathedral of Russian Orthodox Church



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in N. Am., 344 U.S. 94, 116 (1952). The Supreme Court held that “civil
courts exercise no jurisdiction” over matters involving “theological
controversy, church discipline, ecclesiastical government, or the
conformity of the members of the church to the standard of morals
required of them.” Watson, 80 U.S. at 733. Civil authorities, the Court
said, are “incompetent judges of matters of faith, discipline, and
doctrine,” making courts “so unwise” in these matters that any attempt
to regulate them “would do anything but improve either religion or good
morals.” Id. at 732 (cleaned up).
     Put another way, the government has no business deciding “what
does or does not have religious meaning,” New York v. Cathedral Acad.,
434 U.S. 125, 133 (1977), or interpreting “church doctrines and the
importance of those doctrines to the religion,” Presbyterian Church in
U.S. v. Mary Elizabeth Blue Hull Mem’l Presbyterian Church, 393 U.S.
440, 450 (1969), or regulating “church administration, the operation of
the churches, [or] the appointment of clergy,” Kedroff, 344 U.S. at 107–
08. Religious groups themselves have the power, without the second-
guessing of a court, to select who carries out their missions.

     B.    Religious groups have an absolute right to employ only
           those people who follow their religious precepts and
           further their religious mission.
     Given the First Amendment’s robust protection of religious groups’
internal autonomy, “the Religion Clauses foreclose certain employment
discrimination claims” that intrude on those groups’ “independence in
matters of faith and doctrine and in closely linked matters of internal
government.” Our Lady of Guadalupe, 140 S. Ct. at 2061. They protect
“the freedom of religious groups to select their own” representatives and


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reject those who go against the tenets of the faith. Hosanna-Tabor, 565
U.S. at 184.
     The Religion Clauses’ protections are complimented by the First
Amendment’s free association protections. “[I]mplicit in the right to
engage in activities protected by the First Amendment is a corresponding
right to associate with others in pursuit of a wide variety of …
educational, religious, and cultural ends.” Boy Scouts of Am. v. Dale, 530
U.S. 640, 647 (2000) (cleaned up). To force a “group to accept members it
does not desire” burdens that group’s associational rights by intruding on
its “internal structure or affairs,” impairing its ability to express certain
views—“and only those views.” Id. at 648. Moreover, it “significantly
burden[s] the organization’s right to oppose or disfavor [certain] conduct.”
Id. at 659.
     Though “religious and secular groups alike” enjoy free-associational
rights, the First Amendment gives “special solicitude to the rights of
religious organizations.” Hosanna-Tabor, 565 U.S. at 189. Their “very
existence is dedicated to the collective expression and propagation of
shared religious ideals.” Id. at 200 (Alito, J., concurring). “[T]o advance
religion … is their very purpose.” Amos, 483 U.S. at 337. Accordingly,
“[t]he right to organize voluntary religious associations to assist in the
expression and dissemination of any religious doctrine … [has been]
unquestioned.” Watson, 80 U.S. at 728–29.
     That includes religious groups’ right to decide that only those
people who share the groups’ beliefs should help to “define and carry out
their religious missions.” Amos, 483 U.S. at 335. This “membership”
principle, an offspring of the church-autonomy doctrine, is not limited to
hiring someone of a particular religion or domination. Bouldin v.


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Alexander, 82 U.S. (15 Wall.) 131, 139–40 (1872). Instead, it gives
religious groups the autonomy to “shape [their] own faith and mission
through [their] appointments,” ensuring that all personnel will
contribute to, rather than detract from, the group’s shared ideals.
Hosanna-Tabor, 565 U.S. at 188.
     As with the Title VII exemption, the district court nullified this
membership      principle   by   employing     secular     labels   that   lack
constitutional significance. To the district court, the membership
principle only prevents Garrick from labeling her dispute with Moody as
religious discrimination. If Garrick takes the same facts and calls them
sex discrimination instead, then courts have the power to police her
dispute with Moody. But the Supreme Court’s “precedents suggest that
the guarantee of church autonomy is not so narrowly confined”—nor a
court’s powers so broad. SUGM, 142 S. Ct. at 1096 (Alito, J., respecting
the denial of certiorari). In fact, precedent teach that courts shouldn’t
grapple with the question at all.
     Consider Amos. There the Court considered whether a Mormon
organization could “discriminate on religious grounds in hiring for
nonreligious jobs.” 483 U.S. at 331. The Court held that the organization,
“to define and carry out [its] religious missions,” could. Id. at 334–35.
“[I]ntrusive” inquiries by courts into whether the jobs were sufficiently
religious would create a “significant burden” on the organization by
requiring it “to predict which of its activities a secular court will consider
religious” and pressuring it to alter “the way [it] carried out … its
religious mission” to avoid “potential liability.” Id. at 336, 339.
      The Court’s recent ministerial exemption cases confirm this point.
Like the membership principle, the ministerial exemption “protects


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religious organizations from employment discrimination suits brought by
their ministers.” Demkovich, 3 F.4th at 973. In Our Lady of Guadalupe,
the Supreme Court affirmed that the exemption protected two Catholic
schools’ choices to fire teachers at odds with the schools’ religious values.
The Court emphasized that labels and “titles” weren’t important; rather,
“[w]hat matters … is what an employee does,” and a teacher’s job was
“loaded with religious significance.” 140 S. Ct. at 2064, 2067. Religious
schools therefore have the autonomy to decide who best embodies that
role, free from government interference. Even the dissent acknowledged
religious groups’ ability to “make employment decisions … for religious
reasons.” Id. at 2072 (Sotomayor, J., dissenting) (emphasis added).
     The ministerial exception and the membership principle thus have
the same end point: the First Amendment guarantees religious groups
“independence in matters of faith and doctrine and in closely linked
matters of internal government.” Id. at 2061. Religiously motivated
employment decisions are “per se a religious matter,” and courts have no
say when it comes to “how and by whom churches spread their message.”
EEOC v. Roman Cath. Diocese of Raleigh, 213 F.3d 795, 804–05 (4th Cir.
2000) (cleaned up).
     Religious groups do not have a “general immunity from secular
laws.” Our Lady of Guadalupe, 140 S. Ct. at 2060. But they do get to
make decisions that “at times result from preferences wholly
impermissible in the secular sphere.” Rayburn v. Gen. Conf. of Seventh-
Day Adventists, 772 F.2d 1164, 1170–71 (4th Cir. 1985). And “[w]here the
values of state and church clash” over “decision[s] of a theological nature,
the church is entitled to pursue its own path without concession to the
views of” the government. Id. at 1171. Civil authorities cannot second-


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guess religiously motivated decisions and say that the group’s “beliefs are
flawed.” Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 724 (2014).
Yet that’s precisely what the district court did here by allowing Garrick
to repackage a theological dispute as a sex discrimination claim.

     C.    Because religiously motivated employment decisions
           are protected by the First Amendment, the constitu-
           tional avoidance canon compels reading Title VII’s
           exemption broadly.
     Though “cases of this kind” have recently “start[ed] with a
constitutional question … rather than with the statute,” that is not the
“proper sequence.” Starkey, 41 F.4th at 945 (Easterbrook, J., concurring).
This Court could avoid the constitutional questions altogether by
deciding this case under Title VII’s religious exemption. If it does so, the
constitutional principles outlined above compel reading the exemption
broadly.
     Other courts have done exactly that. In Little, the Third Circuit
upheld a Catholic school’s right not to renew a teacher’s contract after
she divorced and remarried without seeking an annulment. 929 F.2d at
946. To apply Title VII to that action would “arguably violate both [the
Religion Clauses,” so the court read Title VII’s exemption “broadly” to
permit religious groups, like the school, “to employ only persons whose
beliefs and conduct are consistent with the employer’s religious
precepts.” Id. at 947, 951.
     Similarly, the Fifth Circuit read Title VII’s exemption “broadly to
[protect] any employment decision made … on the basis of religious
discrimination.” EEOC v. Miss. Coll., 626 F.2d 477, 487 (5th Cir. 1980).
To avoid “conflicts [with] the religion clauses,” the court ruled that if a



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school showed that it fired a professor “on the basis of religion,” the
government     couldn’t   even    investigate     “whether     the    religious
discrimination was a pretext.” Id. at 485; accord Curay-Cramer v.
Ursuline Acad. of Wilmington, 450 F.3d 130, 141 (3d Cir. 2006) (holding
that courts should not inquire “into a religious employers’ religious
mission or the plausibility of its religious justification for an employment
decision”).
     And the Sixth Circuit ruled that a religious college could fire a
student-services specialist after she disclosed that she was a lesbian
ordained in an LGBT-friendly church. Hall v. Baptist Mem’l Health Care
Corp., 215 F.3d 618, 622–23 (6th Cir. 2000). The court recognized that
religious groups have a “constitutionally protected interest … in making
religiously motivated employment decisions,” such that courts cannot
“dictate to religious institutions how to carry out their religious missions
or how to enforce their religious practices.” Id. at 623, 626.
     Finally, the Eleventh Circuit read Title VII’s religious exemption
broadly “to avoid the First Amendment concerns.” Killinger v. Samford
Univ., 113 F.3d 196, 201 (11th Cir. 1997). A Baptist university could
demote a professor over theological differences without court interference
because the “exemption allows religious institutions to employ only
persons whose beliefs are consistent with the employer’s when the work
is connected with carrying out the institution’s activities.” Id. at 200.
     In each of these instances, the court used the concern of unconstitu-
tional religious entanglement as an additional reason to read Title VII’s
broad religious exemption for the expansive shield against government
intrusion that Congress intended. This Court should follow their lead and



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hold that the theological dispute between Moody and Garrick does not
state a justiciable Title VII claim.

                             CONCLUSION
     Title VII’s plain text protects Moody’s decision, motivated by a
theological difference, to part ways with Garrick. The First Amendment
does, too, which requires reading Title VII’s exemption broadly to avoid
a collision with the Constitution. This Court should reverse the district
court’s decision and dismiss this case.


                                 Respectfully submitted,

Dated: August 7, 2023              By:/s/ Cody S. Barnett
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                  CERTIFICATE OF COMPLIANCE

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     I hereby certify that on August 7, 2023, I electronically filed the
foregoing brief with the Clerk of the Court for the United States Court
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electronic filing system.

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